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                             Exhibit 17
Plaintiffs’ Corrected Averment of Jurisdictional Facts and Evidence
      and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
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                            In the name of Allah, the Gracious, the Merciful




                    SULAIMAN BIN ABDUL AZIZ AL RAJHI CHARITABLE FOUNDATION

No. 115/D/23
Date: 06/04/1423 AH
Corresponding: June 17, 2002 AD

His Excellency Brother Dr. Manei bin Hammad Al Juhani, may Allah bless him
         Secretary General of the World Assembly of Muslim Youth and Member of the Shura Council
                  May the peace, mercy, and blessings of Allah be upon you.
                          We ask Allah the almighty that you are doing really well.
         This is with reference to your letter No. 8323, dated 11/14/1422 AH (Jan 28th, 2002 AD),
including your request to contribute paying the costs of the Sharia courses organized by the Committee
in some countries during the summer of 1423 AH (2003 AD), about which a report is enclosed herewith.
Please be advised that after reviewing the enclosed report and having briefed the committee concerned
on the issue, the Committee decided to assign an amount of 130,000 Saudi Riyals to the following
programs:
  No.                Program Name                          Location                 Assigned Amount
  1     Sharia Course + Da’wah Camp                Brazil                     50,000 Saudi Riyals
  2     Sharia Course + Da’wah Camp                Canada
  3     Camp                                       The Czech Republic         50,000 Saudi Riyals
  4     Camp + Course                              Poland
  5     Youth Camp                                 Poland
  6     Sharia Course                              Malawi – Ivory Coast       30,000 Saudi Riyals
  Total                                            130,000 Saudi Riyals
         Also, please find enclosed herewith check No. 007213, dated 04/04/1423 AH (06/15/2002 AD),
under the Committee’s name with the mentioned amount. Please find enclosed herewith the courses’
forms. Please notify us of receipt and provide us with a detailed report on how the amount is being
spent. It is important to document the course’s events by using photos and videos. May Allah bless your
efforts and assist you.
                  May the peace, mercy, and blessings of Allah be upon you.
[Handwritten Signature]
06/04/1423 AH (June 17, 2002 AD)
                                           Your brother
                                           Secretary General
                                           [Handwritten Signature]
                                           Abdulrahman Bin Abdullah Alrajhi
Abdel Ilah
Kingdom of Saudi Arabia – License No. 10           P.O. Box 25759, Riyadh 11476
Tel. 4920033 Fax: 4910242 Email: office@srajhiwakfs.org
        CONFIDENTIAL                                                              WAMYSA 502115
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